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                        UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF IDAHO



 CHRISTINA KELLY,
                                                 Case No. 2:09-CV-519-BLW
                     Plaintiff,
                                                 ORDER
        v.

 HARTFORD LIFE AND ACCIDENT
 INSURANCE COMPANY, a foreign
 insurer,

                     Defendant.



      The Court has before it the Parties’ Notice of Dismissal with Prejudice (Dkt. 43).

Good cause appearing,

      NOW THEREFORE IT IS HEREBY ORDERED that the Notice of Dismissal

with Prejudice (Dkt. 43) is GRANTED and that this case be DISMISSED WITH

PREJUDICE, with each party bearing its own fees and costs.

      IT IS FURTHER ORDERED that the Court will enter a separate judgment in

accordance with Fed. R. Civ. P. 58.
                                         DATED: October 28, 2010




                                         B. LYNN WINMILL
                                         Chief U.S. District Court Judge



ORDER - 1
